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        U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                        ATTORNEY APPEARANCE FORM
NOTE: In order to appear before this Court an attorney must either be a member in good standing of this
Court’s general bar or be granted leave to appear pro hac vice as provided for by Local Rules 83.12
through 83.14.

Roy Kellner,

                Plaintiff,
                                                         Case No. 17-cv-04048
v.
                                                         Judge: John Z. Lee
Lakeview Loan Servicing, LLC; Cenlar FSB
d/b/a Central Loan Administration and
Reporting; and M&T Bank Corporation,

                Defendants.

APPEARANCE(S) ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
                   Cenlar FSB D/B/A Central Loan Administration and Reporting
NAME: Jennifer R. Friedman
SIGNATURE: /s/Jennifer R. Friedman
FIRM: HINSHAW & CULBERTSON LLP
STREET ADDRESS 151 N. Franklin Street, Suite 2500
CITY/STATE/ZIP Chicago, Illinois 60606
ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS) TELEPHONE NUMBER
6284814                                                  (312) 704-3172
ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                            YES             NO
ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                           YES             NO
ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR?                             YES             NO
IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY? YES                              NO
IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.
RETAINED COUNSEL                APPOINTED COUNSEL

                                CERTIFICATE OF SERVICE (ECF)
        I hereby certify that on May 18, 2018, I electronically filed with the Clerk of the U.S. District
Court, Northern District of Illinois - Eastern Division, the foregoing Appearance by using the CM/ECF
system, which will send notification of such filing(s) to all counsel of record.
                                                                        /s/Jennifer R. Friedman




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